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 5   Counsel for Defendant FRAZIER

 6

 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,              )
                                            )            No. CR 05-00648-MJJ (WDB)
11                               Plaintiff, )
                                            )
12            v.                            )            EXPEDITED
                                            )            ORDER REGARDING HOSPITAL VISIT
13   MAURICE FRAZIER                        )
                                            )
14                              Defendant. )
                                            )
15                                          )

16
          Based upon the agreement of the parties to this action, and good cause appearing therefore, it
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     is hereby ORDERED that the release conditions in this case be modified to permit Mr. Frazier to
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     attend the birth of his child at a local hospital. It is further ordered that: he travel directly between
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     his residence or workplace and the hospital; he remain at the hospital and not travel to other
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     locations; he contact the Office of Pretrial Services, and leave a message if after business hours, to
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     advise them of the time he leaves home, the location of the hospital, and the time he returns home
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     or to work.                                                           S DISTRICT
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     Dated:   September 13, 2006                                              OO
25                                                                    IT IS S
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26                                                              Hon. Wayne    neD. Brazil
                                                                                D. Brazil
                                                             NO




                                                                   Ju d ge Way
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                                                                United States Magistrate Judge
                                                              RT




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